Case 6:22-cv-01252-RBD-EJK Document 24 Filed 07/14/23 Page 1 of 10 PageID 833




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,

v.                                                 Case No. 6:22-cv-1252-RBD-EJK

PEDRO PABLO BARRIENTOS,

      Defendant.
____________________________________

                                      ORDER

      Before the Court is Plaintiff’s motion for judgment on the pleadings.

(Doc. 10 (“Motion”).) The Motion is due to be granted.

                                 BACKGROUND

      Defendant Pedro Pablo Barrientos entered the United States in July 1990 on

a visitor visa. (Doc. 1, ¶ 7.) Barrientos overstayed his visa and remained in the

United States. (Id.) Around October 1997, Barrientos married a U.S. citizen and

applied for permanent residency. (Id. ¶ 8.) That application asked Barrientos to list

any present or past membership in any political organization in the United States

or any other place and to list any foreign military service; Barrientos responded,

“None.” (Id. ¶ 9.) The application also asked if Barrientos had participated in

genocide or the killing of any person because of race, religion, nationality, ethnic

origin, or political opinion; Barrientos responded, “No.” (Id. ¶¶ 10, 11.) Barrientos
Case 6:22-cv-01252-RBD-EJK Document 24 Filed 07/14/23 Page 2 of 10 PageID 834




signed the application under penalty of perjury. (Id. ¶ 12.) Four years after

Barrientos submitted the application, an immigration officer interviewed

Barrientos and he again certified his answers were true. (Id. ¶¶ 13, 14.) Based on

the application and interview, Barrientos became a permanent resident. (Id. ¶ 15.)

      In August 2010, Barrientos filed a Form N-400 for naturalization, which

asked similar questions as the application for permanent residency. (Id. ¶¶ 16–24.)

Barrientos’s answers were consistent with those he gave in his earlier application

for permanent residency. (Id.) The Form N-400 application also asked if Barrientos

had ever given false or misleading information to any U.S. government official

while applying for any immigration benefit or to prevent deportation, exclusion,

or removal; Barrientos responded, “No.” (Id. ¶ 25.) Once again, Barrientos signed

his application under penalty of perjury. (Id. ¶¶ 26, 27.) During his interview for

the Form N-400 application, an immigration officer asked Barrientos these

questions again while Barrientos was under oath and Barrientos affirmed his

answers. (Id. ¶¶ 31–39.) Based on the application and interview, Barrientos’s

naturalization application was approved; after he said the oath of allegiance,

Barrientos became a U.S. citizen. (Id. ¶¶ 42, 43.)

      Now it has surfaced that Barrientos’s answers were false. Barrientos had

served in a supervisory role in the Pinochet military coup that overthrew the

Chilean government led by President Salvador Allende in the 1970s. (Id. ¶¶ 45, 62,



                                          2
Case 6:22-cv-01252-RBD-EJK Document 24 Filed 07/14/23 Page 3 of 10 PageID 835




63.) After the coup, the military established detention centers around the country

to interrogate, torture, and kill opponents. (Id. ¶ 73.) One victim was Victor Jara, a

musician who was shot and killed in a detention center Barrientos oversaw in 1973.

(Id. ¶¶ 83, 92.) In 2013, Jara’s family sued Barrientos under the Alien Tort Statute

and the Torture Victim Protection Act of 1991. (Id. ¶ 97); see Jara v. Barrientos,

No. 6:13-cv-1426 (M.D. Fla. 2013). The Jara case went to trial before the

Undersigned and Barrientos’s military and criminal history were revealed via

testimony. (Doc. 1, ¶¶ 98–103; Doc. 1-5, pp. 67:17–24, 182:6–8.) The jury found

Barrientos liable for Jara’s extrajudicial killing. See Jara, Docs. 186, 187.

        Given these developments, the Government now moves to revoke

Barrientos’s naturalization and brings claims for Illegal Procurement of

Naturalization because Barrientos was not lawfully admitted for permanent

residence (Count I), lacked good moral character by committing unlawful acts

(Count II), gave false testimony (Count III), and participating in extrajudicial

killings (Count IV). (Doc. 1, ¶¶ 159–200.) The Government also brings a claim for

procurement of U.S. Citizenship by concealment of a material fact or by willful

misrepresentation (Count V). (Id. ¶¶ 201–06.) Barrientos failed to respond to the

Complaint, so the Government moves for judgment on the pleadings as to

Counts I and V (Doc. 10), to which Barrientos also failed to respond. The matter is

ripe.



                                            3
Case 6:22-cv-01252-RBD-EJK Document 24 Filed 07/14/23 Page 4 of 10 PageID 836




                                     STANDARDS

      A citizen of the United States cannot be denaturalized by default. See

Klapprott v. United States, 335 U.S. 601, 611–13 (1949). In these circumstances, the

Government may move for a judgment on pleadings under Federal Rule of Civil

Procedure 12(c) if “there are no material facts in dispute and the moving party is

entitled to judgment as a matter of law.” Scott v. Taylor, 405 F.3d 1251, 1253

(11th Cir. 2005); see United States v. Golding, No. 14-cv-80514, 2015 WL 12001283,

at *2 (S.D. Fla. July 24, 2015). “Judgment on the pleadings . . . may be rendered by

considering the substance of the pleadings and any judicially noticed facts.”

Hawthorne v. Mac Adjustment, Inc., 140 F.3d 1367, 1370 (11th Cir. 1998). To prevail

in a denaturalization proceeding, the Government must prove its case “by clear,

unequivocal and convincing evidence which does not leave the issue in doubt.”

Klapprott, 335 U.S. at 612 (1949).

                                     ANALYSIS

      First, the Government moves for judgment as to Count I, arguing that

Barrientos procured his naturalization through willful concealment of material

facts in his application for permanent residency. (Doc. 10, pp. 10–18.)

      To be eligible to naturalize, an applicant must have been lawfully admitted

to the United States for permanent residence. See 8 U.S.C. §§ 1427(a)(1), 1429. To

be eligible for permanent resident status, an applicant must be admissible to the



                                         4
Case 6:22-cv-01252-RBD-EJK Document 24 Filed 07/14/23 Page 5 of 10 PageID 837




United States. See 8 U.S.C. § 1255(a)(2); Fedorenko v. United States, 449 U.S. 490, 514

(1981). An applicant is inadmissible if he seeks to procure admission to the

United States by willfully misrepresenting a material fact. See 8 U.S.C.

§ 1182(a)(6)(C)(i). A fact is material if it had a “natural tendency to influence . . .

the decision of the decisionmaking body to which it was addressed.” Kungys v.

United States, 485 U.S. 759, 770 (1988) (cleaned up). And knowledge of the falsity

of a representation is sufficient to establish willfulness. See Alfaro v. U.S. Att’y Gen.,

862 F.3d 1261, 1264 (11th Cir. 2017).

       Here, it is undisputed that Barrientos spent sixteen years in the Chilean

military—so his answer that he had no prior military service was false. (Doc. 1-5,

pp. 67:17–24, 182:6–8.) 1 And given his lengthy time in service and his own

testimony to this effect during the Jara suit, the record establishes that this lie was

willful. (Id.); see Alfaro, 862 F.3d at 1264. Barrientos’s lie was also material because

it would have sparked inquiry into his military career and the coup in which he

participated in extrajudicial killings of victims including Jara. See generally 8 U.S.C.

§ 1101(f)(9) (stating that a person who “at any time” has committed, ordered,

incited, assisted, or otherwise participated in an extrajudicial killing has no good

moral character). So Barrientos’s lie about his foreign military experience had a



       1  The Court takes judicial notice of Barrientos’ testimony in the Jara suit as a matter of
public record. See Fed. R. Evid. 201(b); Hawthorne, 140 F.3d at 1370; Horne v. Potter, 392 F. App’x
800, 802 (11th Cir. 2010).


                                                5
Case 6:22-cv-01252-RBD-EJK Document 24 Filed 07/14/23 Page 6 of 10 PageID 838




“natural tendency to influence the citizenship determination” as it would have

revealed his inability to be naturalized. Kungys, 485 U.S. at 774; see United States v.

Garcia, No. 14-CV-22397, 2015 WL 12533126, at *8 (S.D. Fla. Sept. 18, 2015). Thus,

Barrientos’s misrepresentations about his military career rendered him

inadmissible under § 1182(a)(6)(C)(i) because they were false, willful, and

material. Because Barrientos was inadmissible as a permanent resident, he was not

eligible for naturalization. See 8 U.S.C. §§ 1427(a)(1), 1429. So judgment in favor of

the Government is due to be granted as to Count I. See Kungys, 485 U.S. at 767.

      Though the first ground is sufficient to denaturalize Barrientos, the

Government also moves for judgment on Count V, arguing that Barrientos was

ineligible for naturalization because he willfully concealed his military

membership in his naturalization application. (Doc. 10, pp. 19–25.)

      Section 1451(a) also requires revocation of naturalization where citizenship

was procured by willfully misrepresenting or concealing a material fact. 8 U.S.C.

§ 1451(a). To establish procurement of naturalization “by concealment of a

material fact or by willful misrepresentation” under 8 U.S.C. § 1451(a), the

Government must show not only willful concealment of a material fact but also

that the defendant “procured citizenship as a result of the misrepresentation or

concealment.” Kungys, 485 U.S. at 767. As to this last element, “[i]f the

misrepresentation is such that the truth would predictably have disclosed other



                                          6
Case 6:22-cv-01252-RBD-EJK Document 24 Filed 07/14/23 Page 7 of 10 PageID 839




facts relevant to the applicant’s qualifications, then proof thereof would raise a

rebuttable presumption of ineligibility for citizenship.” United States v. Pirela Pirela,

809 F.3d 1195, 1200 (11th Cir. 2015) (cleaned up). This “presumption of ineligibility

does not arise unless the Government produces evidence sufficient to raise a fair

inference that a statutory disqualifying fact actually existed.” Id.

      As the Court found above, Barrientos’s misrepresentation of his military

history was willful and material. This misrepresentation in his naturalization

application is also material because had Barrientos answered truthfully and stated

that he had foreign military experience, this would have revealed that his previous

nondisclosure of his military service in his permanent residency application was a

willful and material omission rendering him inadmissible as a permanent resident

and thus ineligible for naturalization. See 8 U.S.C. §§ 1427(a)(1), 1429, 1255(a)(2).

As to the procurement element, had Barrientos disclosed his military history, it

would have revealed “other facts relevant to the [his] qualifications,” such as his

active participation in a coup in which he directed extrajudicial killings of

individuals for political differences. Pirela, 809 F.3d at 1200. A jury has already

found Barrientos responsible for Jara’s extrajudicial killing, so there is also more

than a “fair inference” that the statutory disqualifying fact—Barrientos engaging

in an extrajudicial killing—actually existed. See Jara, Docs. 186, 187. See generally

8 U.S.C. § 1101(f)(9) (stating that a person who “at any time” has committed,



                                           7
Case 6:22-cv-01252-RBD-EJK Document 24 Filed 07/14/23 Page 8 of 10 PageID 840




ordered, incited, assisted, or otherwise participated in an extrajudicial killing is

not of good moral character). So judgment in favor of the Government is also due

to be granted on Count V.

      With the Court finding denaturalization, the Government moves to dismiss

its remaining claims without prejudice as moot. (Doc. 10, p. 2 n.2); see, e.g., United

States v. Negele, 222 F.3d 443, 448 (8th Cir. 2000). Because the remaining counts in

the Complaint are just alternative grounds on which to denaturalize Barrientos (see

Doc. 1, ¶¶ 173–200), the Court dismisses these claims without prejudice.

                                  CONCLUSION

      Accordingly, it is ORDERED AND ADJUDGED:

      1.     The Government’s Motion (Doc. 10) is GRANTED.

             a.    Defendant Pedro Pablo Barrientos’s naturalization is revoked

                   and the Certificate of Naturalization No. 34032627 issued to

                   Defendant is canceled, effective as of the original date of his

                   naturalization, December 17, 2010.

             b.    Defendant is forever restrained and enjoined from claiming or

                   exercising any rights, privileges, benefits, or advantages in

                   connection with his December 17, 2010 naturalization.

             c.    Defendant shall immediately surrender and deliver, within ten

                   days of the entry of judgment against him, his Certificate of



                                          8
Case 6:22-cv-01252-RBD-EJK Document 24 Filed 07/14/23 Page 9 of 10 PageID 841




                  Naturalization and any copies thereof in his possession—and

                  to make good faith efforts to recover and immediately

                  surrender any copies thereof that he knows are in the

                  possession of others—to the Attorney General, or his

                  representative, including the Assistant U.S. Attorney in this

                  case.

            d.    Defendant shall surrender and deliver, within ten days of the

                  entry of judgment against him, any other indicia of

                  U.S. citizenship (including, but not limited to, U.S. passports,

                  voter registration cards, and other voting documents) and any

                  copies thereof in his possession—and to make good faith efforts

                  to recover and then surrender any copies thereof that he knows

                  are in the possession of others—to the Attorney General, or his

                  representative.

      2.    The Clerk is DIRECTED to enter judgment in favor of the

            Government and against Defendant on Counts I and V (Doc. 1,

            ¶¶ 159–72, 201–06).

      3.    Counts II–IV (Doc. 1, ¶¶ 173–200) are DISMISSED WITHOUT

            PREJUDICE.

      4.    The Clerk is DIRECTED to close this case.



                                       9
Case 6:22-cv-01252-RBD-EJK Document 24 Filed 07/14/23 Page 10 of 10 PageID 842




      DONE AND ORDERED in Chambers in Orlando, Florida, on July 14, 2023.




                                     10
